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   Attorneys for Plaintiff
                    IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH
    JEFFERY RYANS,                                COMPLAINT AND JURY
          Plaintiff,                                   DEMAND
    vs.
    SALT LAKE CITY                                       Case Number:
    CORPORATION; SALT LAKE                                    Judge
    CITY POLICE DEPARTMENT;
    OFFICER NICOLAS PEARCE;
    OFFICER KEVIN JEWKES;
    And JOHN DOES 1-5;
           Defendants.

          Plaintiff Jeffery Ryans, by and through his attorneys, Gabriel K. White,

   Daniel S. Garner and the law firm of White & Garner hereby complains as follows:

                                       PARTIES

   1.     Plaintiff Jeffery Ryans is an individual residing in Salt Lake City, Utah.

   2.     Defendant Salt Lake City Corporation (the “City”) is a Utah municipal

          corporation located in Salt Lake City, Utah.

   3.     Defendant Officer Nicolas John Pearce is a police officer and K-9 handler

          employed by the Salt Lake City Police Department at all times relevant to

          this matter.
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   4.   Officer Kevin Jewkes is a police officer employed by the Salt Lake City

        Police Department at all times relevant to this matter.

   5.   Salt Lake City Corporation is a Utah municipal corporation that oversees

        the Salt Lake City Police Department.

   6.   John Does 1-5 are unknown individuals who were presumably employed by

        Salt Lake City Corporation and/or the Salt Lake Police Department,

        including, but not limited to a Sargent and a Lieutenant within the Salt Lake

        Police Department, who were involved in and responsible for effectuating

        the policy, practice or custom of diverting and/or otherwise obfuscating

        reports of police dog attacks on citizens, as discussed herein. Plaintiff is

        unaware of the names of these individuals at this time, but will amend to

        include their names as soon as they are specifically identified.

   7.   Salt Lake City Police Department (SLCPD) is an agency of the City that

        employs Officer Pearce and Officer Jewkes. The Salt Lake City Police

        Department had primary responsibility to train, oversee and supervise

        Officers Jewkes and Pearce.

                         JURISDICTION AND VENUE

   8.   Plaintiff hereby incorporates all other paragraphs of this complaint as

        though fully set forth herein.

   9.   This action arises under the Fourth, Fifth and Fourteenth Amendments of

        the Constitution of the United States and 42 U.S.C. § 1983. Accordingly,

        the Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. The

        Court has supplemental jurisdiction over Plaintiffs’ state law claims under

        28 U.S.C. § 1367.




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   10.   The claims made in this Complaint occurred and arose in Salt Lake

         County, State of Utah. Accordingly, venue is proper under 28 U.S.C. §

         1391.

                           GENERAL ALLEGATIONS

   11.   Plaintiff hereby incorporates all other paragraphs of this complaint as

         though fully set forth herein.

   12.   On or about April 24, 2020, Plaintiff Jeffery Ryans was at his home

         preparing to leave for his work driving a train for Union Pacific.

   13.   Mr. Ryans opened the back door of his house to let his dog into the house.

   14.   Mr. Ryans was standing in his backyard when Salt Lake City Police

         Officer Cody Orgill shined a light on him from the front yard and told him

         to freeze and put up his hands.

   15.   Mr. Ryans immediately complied by raising his hands above his head and

         not moving.

   16.   Officer Orgill then ordered Mr. Ryans to walk towards him.

   17.   Officer Orgill was on the other side of a fence that divides the back yard

         of the house from the front yard on the East side of Mr. Ryans’ house.

   18.   Mr. Ryans immediately complied with Officer Orgill’s commands.

   19.   Officer Orgill asked how other police officers could get around the fence

         and into the back yard.

   20.   Mr. Ryans informed Officer Orgill that there was a gate on the other side

         of the house that officers could use to access the backyard.




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   21.   He offered to show Officer Orgill the gate, but Officer Orgill asked him to

         remain where he was while other officers came around the other side of

         the house. Mr. Ryans again complied with Officer Orgill’s commands.

   22.   Officer Pearce and his K-9 (“Tuco”) came around the back of the house.

         They were accompanied by Officer Kevin Jewkes.

   23.   As soon as they came in sight of Mr. Ryans, Officer Jewkes ordered Mr.

         Ryans to get on his knees.

   24.   Officer Pearce ordered Mr. Ryans to get on the ground.

   25.   Mr. Ryans lowered himself to the ground while keeping his hands in the

         air.

   26.   Officer Pearce continued to yell at him to get on the ground.

   27.   Mr. Ryans then lowered himself face-down onto the ground, all while

         keeping his hands raised.

   28.   Officer Pearce ordered Tuco to bite Mr. Ryans.

   29.   At the time Officer Pearce ordered Tuco to bite Mr. Ryans, Mr. Ryans had

         fully complied with the officers’ commands.

   30.   At the time that Officer Pearce ordered Tuco to bite Mr. Ryans, he was on

         the ground, had his hands behind his back and was allowing officers to

         handcuff him.

   31.   Officer Pearce continued to allow Tuco to bite Mr. Ryans for some time

         after handcuffs were put in place.

   32.   As a result of the wounds inflicted by Tuco, Mr. Ryans has undergone

         multiple surgical procedures and has a permanent injury to his leg that will

         cause him to walk with a limp for the rest of his life.




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                               CLAIMS FOR RELIEF

   33.   The headings stated under each individual cause of action are for

         general descriptive purposes only and are not intended to limit Mr.

         Ryans’ claims forrelief. Mr. Ryans reserves the right to assert any

         legal theory or claim for relief applicable to the facts set forth in this

         Complaint or an amended complaint pursuant to F.R.Civ.P. 8.

   34.   The claims for relief asserted herein are asserted individually and/or

         in the alternative.

                         FIRST CLAIM FOR RELIEF
                   Deprivation of Federal Constitutional Rights
                   – 42 U.S.C. § 1983Against Defendant Pearce
   35.   Plaintiff incorporates by reference all other paragraphs of this

         Complaint as though fully set forth herein.

   36.   At all times relevant hereto, and in performance of the acts set forth

         herein, Defendant Pearce acted under color of state law.

   37.   At all times relevant hereto, and in performance of the acts set forth

         herein, Officer Pearce actively and personally caused the

         violations of constitutionalrights alleged herein.

   38.   Officer Pearce’s conduct alleged herein, including Officer Pearce’s

         use of unreasonable or unnecessary force, subjected Mr. Ryans to

         the deprivation of his        rights   protected under the Fourth

         Amendment to the United States Constitution.




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   39.   Officer Pearce’s conduct alleged herein, including (a) ordering

         Tuco to bite Mr. Ryans while he was complying with the Officers’

         demands, and (b) continuing to order Tuco to bite Mr. Ryans even

         after Mr. Ryans had been effectively subdued violated Mr. Ryans’

         rights under the Fourth Amendment to the United States

         Constitution.

   40.   If, under the facts, Jeffrey Ryans is not deemed to have been

         “seized” under the Graham factors relating to the Fourth

         Amendment, and not deemed to be in custody, then Defendant

         Pearce’s actions deprived him of life, liberty, and bodily integrity,

         as substantively guaranteed to Mr. Ryans under the Fifth and

         Fourteenth Amendments.

   41.   The unreasonable, excessive, and dangerous deadly force used by

         Defendant Pearce, which directly caused Mr. Ryans’ injuries as

         described above, deprived him of a liberty interest without due

         process of law, in violation of the Fifth and/or Fourteenth

         Amendments of the U.S. Constitution.

   42.   Officer Pearce’s actions violated Mr. Ryans’ clearly established

         constitutional rights of which reasonable police officers are or

         should be aware.

   43.   Defendant Pearce’s actions proximately caused pain and emotional




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         distress to Mr. Ryans.

   44.   Defendant Pearce’s actions proximately caused Mr. Ryans’

         injuries.

   45.   As a result of Defendant Pearce’s unlawful actions, and to remedy

         misconduct of significant importance to the public, Plaintiff has

         had to retain counsel.

   46.   Officer Pearce’s actions manifested malicious, reckless, and

         callous indifference to the rights of Mr. Ryans.

   47.   As a direct and proximate result of Officer Pearce’s actions, Mr.

         Ryans has suffered permanent, disabling injuries to his leg that

         have resulted in medical expenses, lost wages, lost earning

         capacity, attorneys’ fees, costs, pain and suffering and other

         general and special damages in an amount to be proven at trial.

                         SECOND CLAIM FOR RELIEF
                     Deprivation of Federal Constitutional Rights
                     – 42 U.S.C. § 1983Against Defendant Kevin
                                       Jewkes
   48.   Plaintiff incorporates by reference all other paragraphs of this

         Complaint as though fully set forth herein.

   49.   At all times relevant hereto, and in performance of the acts set forth

         herein, Officer Jewkes acted under color of state law.

   50.   At all times relevant hereto, and in performance of the acts set forth




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         herein, Officer Jewkes actively and personally caused the

         violations of constitutional rights alleged herein.

   51.   Defendant Jewkes’ conduct alleged herein, specifically that, having

         observed that Officer Pearce was subjecting Mr. Ryans to

         unnecessary and excessive force, he failed intervene to protect Mr.

         Ryans from Officer Pearce and Tuco, violated Mr. Ryans’ clearly

         established constitutional rights.

   52.   Defendant    Jewkes’ conduct         alleged herein,   including his

         participation in and failure to prevent the violationsof Mr. Ryans’

         rights in his presence by Defendant Pearce, violated Mr. Ryans’

         rights under the Fourth Amendment to the United States

         Constitution.

   53.   Defendant    Jewkes’ conduct         alleged herein,   including his

         participation in and failure to prevent the violationsof Mr. Ryans’

         rights in his presence by Defendant Pearce deprived Mr. Ryans of

         his rights to liberty and due process of law under the Fifth and

         Fourteenth Amendments to the United States Constitution.

   54.   Defendant     Jewkes’    actions      violated   clearly   established

         constitutional rights of which reasonable police officers are or




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         should be aware.

   55.   Defendant Jewkes’ actions violated Salt Lake City and the Salt

         Lake Police Department’s own use of force policy, which states

         (in relevant part):

                300.2.1 DUTY TO INTERCEDE

                Any officer present and observing another officer using
                force that is clearly beyond that which is objectively
                reasonable under the circumstances shall, when in a
                position to do so, intercede to prevent the use of
                unreasonable force. An officer who observes another
                employee use force that exceeds the degree of force
                permitted by law should promptly report these
                observations to a supervisor.

         Salt Lake City Police Department Policy Manual (emphasis

   added).

   56.   Defendant Jewkes was in a position to intercede to prevent

         Officer Pearce from using unreasonable force on Mr. Ryans.

   57.   Defendant Jewkes did not take any steps to intercede to prevent

         Officer Pearce from using unreasonable force on Mr. Ryans.

   58.   Upon information and belief, Defendant Jewkes did not report

         Officer Pearce to his supervisor.

   59.   Defendant Jewkes’ actions proximately caused pain, physical

         injury and emotional distress to Mr. Ryans.




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    60.   Defendant Jewkes’ actions proximately caused the harms alleged

          by Plaintiff.

    61.   As a result of Defendant Jewkes’ unlawful actions, and in order

          to remedymisconduct of significant importance to the public,

          Plaintiffs have had to retain counsel.

    62.   Jewkes’ actions manifested malicious, reckless, and callous

          indifference to the rights of Mr. Ryans.

    63.   As a direct and proximate result of Officer Jewkes’s actions, Mr.

          Ryans has suffered permanent, disabling injuries to his leg that

          have resulted in medical expenses, lost wages, lost earning

          capacity, attorneys’ fees, costs, pain and suffering and other

          general and special damages in an amount to be proven at trial.

                         THIRD CLAIM FOR RELIEF
                    Deprivation of Federal Constitutional Rights
                     – 42 U.S.C. § 1983Against Defendants Salt
                    Lake City Corporation, Salt Lake City Police
                            Department, and John Does

    64.   Plaintiff incorporates by reference all other paragraphs of this

          Complaint as though fully set forth herein.

    65.   The actions of Defendants Pearce and Jewkes were pursuant to, and

          consistent with, an established policy, practice, or custom of

          Defendant Salt Lake City and the Salt Lake Police Department.




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    66.   The actions of Pearce and Jewkes were pursuant to a Salt Lake

          City and Salt Lake City Police Department policy, practice, or

          custom that consists of arming police officers with police dogs that

          have been trained to inflict severe bodily harm on civilians and

          condoning the use of these dogs to apprehend suspects, also

          referred to herein as the Canine Apprehension Program or

          “CAP”.

    67.   Salt Lake City and the Salt Lake City Police Department enacted

          and administer the CAP without requiring officers to use less

          destructive and dangerous alternatives prior to deploying dogs

          against civilians, and without providing proper training and/or

          supervision regarding their safe, reasonable, and appropriate use.

    68.   Defendant Salt Lake City Corporation was deliberately indifferent

          toward the proper training, arming, and supervision of its

          employees and agents regarding appropriate use of canines in

          the CAP program.

    69.   The CAP program was the proximate cause of pain and suffering,

          permanent injury, medical expenses and other damages suffered

          by Mr. Ryans.

    70.   As a result of Defendants Salt Lake City and the Salt Lake Police

          Department’s actions, and in order to remedy this important issue




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          of public concern, Plaintiff has had to retain legal counsel.

    71.   As a direct and proximate result of Defendants’ actions, Mr. Ryans

          has suffered permanent, disabling injuries to his leg that have

          resulted in medical expenses, lost wages, lost earning capacity,

          attorneys’ fees, costs, pain and suffering and other general and

          special damages in an amount to be proven at trial.

                        FOURTH CLAIM FOR RELIEF
                    Deprivation of Federal Constitutional Rights
                     – 42 U.S.C. § 1983Against Defendants Salt
                    Lake City Corporation, Salt Lake City Police
                            Department, and John Does

    72.   Plaintiff incorporates by reference all other paragraphs of this

          Complaint as though fully set forth herein.

    73.   Pursuant to, and consistent with, an established policy, practice, or

          custom of Defendant Salt Lake City and the Salt Lake Police

          Department, incidents of use of force involving canines were not

          subject to the same review that other complaints against police

          officers receive.

    74.   Salt Lake City and Salt Lake City Police Department had a policy,

          practice, or custom of diverting use of force reports relating to the

          CAP away from the normal review process.

    75.   Upon information and belief, this was accomplished by John Doe

          Defendants, including the Sargent and Lieutenant in charge of




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          receiving reports of police dog attacks, intentionally withholding

          or burying evidence of the attacks so it was not reported to internal

          affairs or supervisors higher up the chain of command.

    76.   Upon information and belief, this was also or alternatively

          accomplished by John Doe Defendants and K9 officers (including

          Defendant Pearce) describing the events of a dog bite attack

          incorrectly so as to downplay the seriousness of the attack, thus

          avoiding scrutiny.

    77.   Because of this policy, practice, or custom, reports of officers using

          canines to cause severe and permanent damage while apprehending

          citizens were not reviewed.

    78.   When news of Mr. Ryans’ claims became public, on information

          and belief, Salt Lake City, the Salt Lake City Police Department

          and the Salt Lake District Attorneys’ Office reviewed previously

          diverted or “buried” use of force complaints involving canines.

    79.   Salt Lake City and the Salt Lake City Police Department ultimately

          referred between twenty and thirty complaints to the Salt Lake

          District Attorneys’ Office as potentially “questionable”.

    80.   Upon information and belief, more than one of those prior

          complaints involved Officer Pearce and Tuco.

    81.   The Salt Lake District Attorney’s office ultimately decided to




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          charge Officer Pearce with felony assault for the incident described

          herein involving his attack on Mr. Ryans.

    82.   The Salt Lake District Attorneys’ Office also filed charges against

          Officer   Pearce   regarding    an   interaction   that   happened

          approximately eighteen months prior to the attack on Mr. Ryans.

    83.   The prior case involved Officer Pearce lifting Tuco up into the air

          so that Tuco could bite a woman who had surrendered to police and

          had her hands sticking out of a car window.

    84.   Upon information and belief, the incident in which Officer Pearce

          used Tuco to assault a woman in her car was not among the incident

          reports forwarded by Salt Lake City and the Salt Lake City Police

          Department to the District Attorney’s Office.

    85.   The policy, practice or custom of Salt Lake City and Salt Lake

          City Police Department to divert complaints involving canines and

          the use of force away from the normal review process prevented

          these officers from being effectively supervised in the use of a

          deadly weapon and prevented normal corrective training from

          taking place.

    86.   But for the policy, practice or custom of Salt Lake City and Salt

          Lake City Police Department to divert complaints involving

          canines and the use of force away from the normal review process,




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          Mr. Ryans would not have been attacked by Officer Pearce and

          Tuco on the night at issue in this case.

    87.   The policy, practice or custom of Salt Lake City and Salt Lake

          City Police Department to divert complaints involving canines and

          the use of force away from the normal review process was the direct

          and proximate cause of pain and suffering, permanent injury,

          medical expenses and other damages suffered by Mr. Ryans.

                         FIFTH CLAIM FOR RELIEF
                    Deprivation of Federal Constitutional Rights
                     – 42 U.S.C. § 1983Against Defendants Salt
                    Lake City Corporation, Salt Lake City Police
                            Department, and John Does

    88.   Plaintiff incorporates by reference all other paragraphs of this

          Complaint as though fully set forth herein.

    89.   At all times relevant to this complaint, Defendant Salt Lake City and the

          Salt Lake City Police Department maintained a policy regarding the use

          of force by police officers during interactions with civilians.

    90.   However, Salt Lake City and the Salt Lake City Police Department did

          not have a policy governing when and how the department’s attack dogs

          could be used by Officers to subdue civilians.

    91.   Pursuant to, and consistent with, the established practice or custom

          of Defendant Salt Lake City and the Salt Lake Police

          Department, the lack of a use of force policy governing the use




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          of canines to effect arrests left the determination of what force

          should be used with a canine up to the discretion of individual

          officers.

    92.   Because of Salt Lake City and Salt Lake City Police Department’s

          lack of a use of force guideline covering the use of canines to arrest

          citizens, officers have used canines to cause severe and permanent

          damage while apprehending citizens.

    93.   Because citizen complaints regarding excessive force involving

          canines were not reviewed for compliance with any policy, Salt

          Lake City and Salt Lake City Police Department allowed its

          Officers to use canines to inflict severe bodily injury without any

          oversight, additional training or correction.

    94.   The lack of a policy, practice or custom regarding use of force

          with canines was the direct and proximate cause of pain and

          suffering, permanent injury, medical expenses and other

          damages suffered by Mr. Ryans.

                          SIXTH CLAIM FOR RELIEF
            Violations of Utah Constitution, Art. I, §§ 1, 6, 7, 9, 14, 25
                             (Against All Defendants)

    95.   Plaintiffs incorporate by reference all other paragraphs of this

          Complaint as though fully set forth herein.

    96.   The actions of Defendants described herein violated Mr. Ryans’




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           rights secured by Article I, Section 1 of the Utah Constitution

           (“All men have the inherent and inalienable right to enjoy and

           defend their lives and liberties; to acquire, possess and protect

           property[.]”).

    97.    The actions of Defendants described above violated Mr. Ryans’

           rights secured by Article I, Section 7 of the Constitution of the

           State of Utah (“No personshall be deprived of life, liberty or

           property, without due process of law.”).

    98.    The actions of Defendants described herein violated Plaintiff’s

           rightssecured by Article I, Section 14, which states in relevant part:

           “[t]he right of the people to be secure in their persons, houses,

           papers and effects against unreasonable searches and seizures shall

           not be violated.”

    99.    The actions of Defendants described herein violated Plaintiff’s

           rights secured by Article I, Section 9, which states in relevant part:

           “Persons arrested or imprisoned shall not be treated with

           unnecessary rigor.”

    100.   The actions of Defendants described herein violated Plaintiff’s

           rightssecured by Article I, Section 25, which states in relevant




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           part: “This enumeration of rights shall not be construed to

           impair or deny others retained by the people.”

    101.   Based upon the text and historical context, case law, and other

           considerations, the protections and rights afforded by Article I, §§

           1, 6, 7, 14, and 25 are broader than the interests and rights

           afforded by the United States Constitution.

    102.   Defendants’ actions described herein amount to flagrant violations

           of the Plaintiffs’ rights under the Utah Constitution.

    103.   There is no other adequate state law remedy for these violations.

    104.   Injunctive relief cannot redress Plaintiffs’ injuries.

    105.   Defendants’ actions as alleged herein were the direct and

           proximate cause of the damages sustained by Plaintiff.

    106.   In order to remedy Defendants’ unconstitutional conduct, Plaintiff

           has had to retain counsel.

    COMPLIANCE WITH GOVERNMENTAL IMMUNITY ACT OF
                        UTAH

           Plaintiffs’ constitutional claims are not subject to the provisions of

    the Utah Governmental Immunity Act.

           With respect to the Sixth Claim for Relief, Plaintiff has complied

    with applicable provisions of the Governmental Immunity Act of Utah,




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    U.C.A. § 63G-7-101, et seq., and has provided a Notice of Claim to

    Defendants.

                             PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for judgment against Defendants as follows:


    1.    A declaration and judgment that the actions of Defendants

    Pearce and Jewkes, John Does, and Defendants Salt Lake City and

    the Salt Lake Police Departments’ policies and customs regarding the

    use of canines to apprehend suspects are and were unconstitutional;

    2.    Economic and noneconomic damages as provided under applicable

    law and deemed appropriate by a jury;

    3.    Attorney fees and litigation expenses pursuant to 42 U.S.C. § 1988,

    Utah law, and equity, to the full extent provided under applicable law;

    4.    Punitive damages against Defendants Pearce, Jewkes, John

    Does 1-5, Salt Lake City Corporation, and Salt Lake City Police

    Department as provided under applicable law and to the extent deemed

    appropriate by a jury;

    5.    Costs as provided under applicable law;

    6.    Pre-judgment and post-judgment interest as provided under

    applicable law.




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    7.    All other equitable relief deemed just and appropriate by the Court,

    including an order (a) requiring Salt Lake City and the Salt Lake Police

    Department to issue a policy regarding the appropriate situations in which

    canines can be used to apprehend citizens, (b) requiring the Police

    Officer Standards and Procedures program to modify its training to

    discourage the use of police dogs to subdue compliant citizens incident

    to an arrest, and (c) to implement other training, supervision, and

    policies required to meet federal and state constitutional requirements.

          DATED this 22nd day of April, 2022.

                                                WHITE & GARNER

                                                /s/ Gabriel K. White
                                                Gabriel K. White
                                                Daniel S. Garner
                                                Attorneys for Jeffrey Ryans




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